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                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


        IN THE UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF
                       ALABAMA SOUTHERN DIVISION


Milligan et al.

Plaintiffs,


v.


Merrill et al.

Defendents.



                               EXPERT REPORT
                               Kosuke Imai, Ph.D.
                               December 10, 2021
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I.      INTRODUCTION AND SCOPE OF WORK
        1.       My name is Kosuke Imai, Ph.D., and I am a Professor in the Department of Gov-
ernment and the Department of Statistics at Harvard University. I specialize in the development of
statistical methods for and their applications to social science research. I am also affiliated with
Harvard’s Institute for Quantitative Social Science.
        2.       I have been asked by counsel representing the plaintiffs in this case to analyze rele-
vant data and provide my expert opinions related to the role that race played in drawing Alabama’s
congressional district plan (HB1). To do so, I simulated two sets of 10,000 possible Alabama con-
gressional districting plans that adhere to other redistricting considerations. The simulations allow
me to determine whether and to what extent the Alabama legislature’s inclusion or exclusion of
Black voters in Districts 2 and 7 in HB1 is consistent with the likelihood of particular outcomes in
the simulated plans that are generated without consideration of race.1
        3.       These simulated plans are at least as compact as the enacted plan and have fewer
than or an equal number of county splits. Like the enacted plan, none of these simulated plans
pair incumbents. The first set of 10,000 alternative plans were generated without any considera-
tion of race. I call them “race-blind” simulated plans. These race-blind simulations allow me to
determine how race would be treated in districting plans if the districts were drawn without using
any consideration of race. I also generated the second set of 10,000 alternative plans that have
one majority-minority district (MMD) but otherwise followed the same criteria as the race-blind
simulation procedure used for the first set. They were referred to as “one-MMD” simulated plans.
These one-MMD simulations allow me to examine how the racial composition of the other districts
would look if the districts were drawn with the constraint of including one MMD but otherwise
not considering race at all.


II.     SUMMARY OF OPINIONS

   1. My analysis focused on Districts 2 and 7, the districts with the highest proportion of Black voters, where the
role of race was most apparent. Other types of analysis may uncover similar evidence in Districts 1 and 3, but the
simulations run here focus on the predominance of race in Districts 2 and 7.



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       4.       The comparison of the race-blind simulated plans with the enacted plan yields the
following findings: The enacted plan draws Black voters who live in Jefferson and Montgomery
Counties into District 7 at a rate not present in the race-blind simulated plans. Indeed, the enacted
plan is a clear statistical outlier in this regard when compared to the ensemble of the race-blind
simulated plans. As a result of the enacted plan including an unusually large number of Black
voters into District 7, the Black voting age population (BVAP) proportion of District 2 is much
lower than a vast majority of the simulated plans.2
       5.       The comparison of the one-MMD simulated plans with the enacted plan yields the
following findings: The enacted plan sweeps about 39,000 Black voters who live in Montgomery
County into District 7 in the ways that render it a statistical outlier when compared to the simulated
plans. In contrast, about 90% of the one-MMD simulated plans include fewer than 4,000 Black
voters from Montgomery in the MMD, and instead include most Black voters from Montgomery
in other districts. As a result of packing Black voters who live in Montgomery into District 7 in the
enacted plan, the district with the second highest BVAP proportion (i.e., District 2) has a BVAP
of only 30.1%. In contrast, a large proportion of the one-MMD simulated plans avoid packing
Black voters into the MMD and the district with the second highest BVAP proportion achieves, on
average, 4.4 percentage points or higher BVAP proportion than the enacted plan. This difference
is statistically significant using the conventional standard.
       6.       My simulation analyses, therefore, provide evidence that race was a significant fac-
tor in drawing the enacted plan.


III.   QUALIFICATIONS, EXPERIENCE, AND COMPENSATION
       7.       I am trained as a political scientist (Ph.D. in 2003, Harvard) and a statistician (MA
in 2002, Harvard). I have published more than 60 articles in peer reviewed journals, including
premier political science journals (e.g., American Journal of Political Science, American Political
Science Review, Political Science), statistics journals (e.g., Biometrika, Journal of the American
  2. I define BVAP as people who are some part Black per the Census definition.




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Statistical Association, Journal of the Royal Statistical Society), and general science journals (e.g.,
Lancet, Nature Human Behavior, Science Advances). My work has been widely cited across a
diverse set of disciplines. For each of the past four years, Clarivate Analytics, which tracks citation
counts in academic journals, has named me as a highly cited researcher in the cross-field category
for producing “multiple highly cited papers that rank in the top 1% by citations for field and year
in Web of Science.”
        8.      I started my academic career at Princeton University, where I played a leading role
in building interdisciplinary data science communities and programs on campus. I was the found-
ing director of Princeton’s Program in Statistics and Machine Learning from 2013 to 2017. In
2018, I moved to Harvard, where I am Professor jointly appointed in the Department of Govern-
ment and the Department of Statistics, the first such appointment in the history of the university.
Outside of universities, between 2017 and 2019, I served as the president of the Society for Political
Methodology, a primary academic organization of more than one thousand researchers worldwide
who conduct methodological research in political science. My introductory statistics textbook for
social scientists, Quantitative Social Science: An Introduction (Princeton University Press, 2017),
has been widely adopted at major research universities in the United States and beyond.
        9.      Computational social science is one of my major research areas. As part of this re-
search agenda, I have developed simulation algorithms for evaluating legislative redistricting since
the beginning of this emerging literature. At Harvard, I lead the Algorithm-Assisted Redistricting
Methodology (ALARM; https://alarm-redist.github.io/) Project, which studies how algorithms can
be used to improve legislative redistricting practice and evaluation.
        10.     Back in 2014, along with Jonathan Mattingly’s team at Duke, my collaborators
and I were the first to use Monte Carlo algorithms to generate an ensemble of redistricting plans.
Since then, my team has written several methodological articles on redistricting simulation algo-
rithms (Fifield, Higgins, et al. 2020; Fifield, Imai, et al. 2020; McCartan and Imai 2020; Kenny
et al. 2021).
        11.     I have also developed an open-source software package titled redist that allows


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researchers and policy makers to implement the cutting-edge simulation methods developed by us
and others (Kenny et al. 2020). This software package can be installed for free on any personal
computer with Windows, Mac, or Linux operating system. According to a website that tracks the
download statistics of R packages, our software package has been downloaded about 30,000 times
since 2016 with an increasing download rate.3
        12.     In addition to redistricting simulation methods, I have also developed the method-
ology for ecological inference referenced in voting rights cases (Imai, Lu, and Strauss 2008; Imai
and Khanna 2016). For example, my methodology for predicting individual’s race using voter files
and census data was extensively used in a recent decision by the Second Circuit Court of Appeals
regarding a redistricting case (Docket No. 20-1668; Clerveaux et al v. East Ramapo Central School
District).
        13.     A copy of my curriculum vitae is attached as Exhibit A.
        14.     I am being compensated at a rate of $450 per hour. My compensation does not
depend in any way on the outcome of the case or on the opinions and testimony that I provide.


IV.     METHODOLOGY
        15.     I conducted simulation analyses to help evaluate whether the enacted plan was
drawn using race as a primary factor. Redistricting simulation algorithms generate a representative
sample of all possible plans that satisfy a specified set of criteria. These criteria may, for example,
include requiring a certain degree of population equality, avoiding pairing of incumbents, drawing
compact districts, and limiting the number of counties being split. The resulting simulated plans
represent a set of alternative plans that the state could have drawn while being compliant with
these redistricting criteria. One can then evaluate the properties of a proposed plan by comparing
it against the simulated plans. If the proposed plan unusually treats particular racial groups in a
certain way when compared to the ensemble of simulated plans, this serves as empirical evidence
that the proposed plan was likely drawn using race as a predominant factor.
  3. https://ipub.com/dev-corner/apps/r-package-downloads/ (accessed on December 6, 2021)




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        16.      Furthermore, statistical theory allows us to quantify the degree to which the pro-
posed plan is extreme in terms of racial composition, relative to the ensemble of simulated plans.
For example, we can estimate the probability of a simulated plan packing Black people into a
district at least as much as a proposed plan does. If this probability is small, then the proposed
plan is a statistical outlier because the enacted plan is highly unlikely to come from the race-blind
distribution that is used to generate the simulated plans.
        17.      A primary advantage of the simulation-based approach, over other traditional meth-
ods, is its ability to account for the political and geographic features that are specific to each state,
including spatial distribution of voters and configuration of administrative boundaries. Simulation
methods can also incorporate each state’s redistricting rules. These state-specific features limit
the types of redistricting plans that can be drawn, making comparison across states and over time
difficult. The simulation-based approach therefore allows us to compare the enacted plan to a
representative set of alternate districting plans subject to Alabama’s administrative boundaries, po-
litical realities, and legal requirements. Appendix A provides a brief introduction to redistricting
simulation.
        A.       Simulation Setup
        18.      For the purposes of my analyses, I have ensured that all of my simulated plans have
the following properties:


      • there are a total of seven geographically contiguous districts
      • all districts do not exceed an overall population deviation of ± 0.5%
      • districts are more compact than the enacted plan on average
      • fewer than or equal to the number of county boundaries split under the enacted plan
      • no more than one incumbent is placed in each district4
      • no partisan information is used for simulation


        19.      I provide an overview of my simulation procedure while leaving the detailed infor-
   4. I exclude Representative Mo Brooks who has announced his candidacy for the United States Senate from the list
of incumbents.


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mation about the simulation algorithms to Appendix B. I generated two sets of 10,000 simulated
plans. The first set is generated by only considering the above criteria, using the Sequential Monte
Carlo (SMC) simulation algorithm (McCartan and Imai 2020; Kenny et al. 2021; briefly described
in Appendix B). Importantly, the simulation procedure does not use the information about race at
all. I call this “race-blind” simulation analysis.
        20.     The second set of simulated plans also satisfy the above criteria, but use the in-
formation about race to create one majority-minority district (MMD). At the request of counsel
for plaintiffs, the MMD is drawn as a district with the proportion of Black voting age population
(BVAP) between 50% and 51%. I use the short-burst Markov chain Monte Carlo (MCMC) algo-
rithm (Cannon et al. 2020; briefly described in Appendix B) to find different MMDs by running
this algorithm multiple times. Then, for each simulated MMD, I use the same race-blind simula-
tion procedure as the one used for the race-blind simulation analysis to generate the remaining six
districts. Specifically, I run the SMC algorithm on the rest of the state without using any informa-
tion about race. Each of the resulting simulated plans, therefore, has one MMD and the remaining
districts created in the race-blind fashion. I call this “one-MMD” simulation analysis.
        21.     Neither of my two simulation analyses use any partisan information. Lastly, Ap-
pendix E.1 provides the detailed information about data sources used in my analysis.
        B.      Description of Redistricting Simulation Software
        22.     In my analysis, I use the open-source software package for redistricting analysis
redist (Kenny et al. 2020), which implements a variety of redistricting simulation algorithms
as well as other evaluation methods. My collaborators and I have written the code for this soft-
ware package, so that other researchers and the general public can implement these state-of-the-art
methods on their own. I supplement this package with code written primarily to account for the
redistricting rules and criteria that are specific to Alabama. All of my analyses are conducted on
a laptop. Indeed, all of my analysis code can be run on any personal computer once the required
software packages, which are also freely available and open-source, are installed.




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V.     EVALUATION OF THE ENACTED PLAN
       23.     Using the redistricting simulation methodology described above, I evaluate evi-
dence regarding whether race was a primary factor in drawing the enacted plan. This is done by
instructing the algorithms to adhere to all of the other redistricting rules and then comparing how
the enacted plan treats race to the treatment of race in the resulting simulated plans. Specifically,
I simulated two sets of 10,000 alternative plans (“race-blind” and “one-MMD”), using the simula-
tion procedure described in Section IV.
       24.     In Appendix C, I show that the simulated plans are on average at least as compact
as the enacted plan based on the standard compactness measures. For example, virtually all of
the race-blind simulated plans are more compact than the enacted plan. Appendix D shows that
most of the simulated plans have fewer than or equal to the number of county splits the enacted
plan does. Indeed, almost all of the race-blind simulated plans split at most four counties while
the enacted plan splits six counties. As mentioned above, all simulated plans have at most one
incumbent located in any given district. This allows me to number the districts of each simulated
plan according to the incumbents contained in them.
       25.     I can easily generate additional plans by running the algorithm longer, but for the
purpose of my analysis, 10,000 simulated plans for each set will yield statistically precise conclu-
sions. In other words, generating more than 10,000 plans, while possible, will not materially affect
the conclusions of my analysis.
       A.      Race-blind Simulation Analysis
       26.     I start with the evaluation of the enacted plan based on the race-blind simulation
analysis. I show that the way in which the enacted plan deviates from the simulated plans implies
that race was a predominant factor in drawing the district boundaries of the enacted plan.
       A.1.    Outlier Analysis of Districts 2 and 7
       27.     I first conduct an outlier analysis of District 7, which is the sole MMD under the
enacted plan. This analysis examines how extreme the BVAP proportion of District 7 is under
the enacted plan when compared to that under the race-blind simulated plans. Figure 1 presents


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                     60%
 Fraction of plans




                     40%                                                                      Plan
                                                                                                     Enacted


                     20%



                     0%
                                 20%              30%              40%              50%
                                           Black Voting Age Population

Figure 3: Comparison of Black Voting Age Population percent within Jefferson County and Dis-
trict 7 between simulated plans (black bars) and the enacted plan (red line).

County is usually part of District 7, indicated by the fact that the entire county is colored dark in
the right map. Even when split, the simulated plans tend to assign much of the county to District
7. This pattern is in sharp contrast to the way in which the enacted plan splits Jefferson County —
it groups precincts where more Black Alabamians reside and includes them into District 7 while
assigning the rest of the county to District 6.
                       32.    The examination of the BVAP within Jefferson County also confirms that the en-
acted plan is an outlier with respect to how it packs many Black residents of Jefferson County into
District 7. Figure 3 presents the distribution of BVAP proportions within both Jefferson County
and District 7 across simulated plans and compares it against the enacted plan (red line). The en-
acted plan is a clear outlier in that it packs many more Black residents of Jefferson County into
District 7 than 9,992 of the 10,000 simulated plans. In other words, only 0.08% of simulated plans
pack as many Black residents of Jefferson County into District 7 as the enacted plan.
                       A.3.   Analysis of Montgomery County
                       33.    In addition to Jefferson, Montgomery is another key county where many Black
Alabamians live. The enacted plan splits this county into Districts 2 and 7. Importantly, the enacted
plan divides the city of Montgomery into those two districts. I examine how often Montgomery

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County is split in the simulated plans to determine whether the decision to split Montgomery
County in the enacted plan was likely to occur in order to satisfy other redistricting criteria. I find
that over 97% of the simulated plans do not split Montgomery County at all. Indeed, about 94% of
these simulated plans assign the entire Montgomery County to Districts 2 or 6 rather than District
7. It is clear that the enacted plan packs Black voters who live in the western part of the city of
Montgomery into District 7 while leaving District 2 with fewer Black voters.
       34.     Based on these findings, it is my opinion that the enacted plan splits Montgomery
County in a way that includes a disproportionate number of Black people into District 7, even
though doing so was unnecessary to satisfy the other redistricting criteria.
       B.      One-MMD Simulation Analysis
       35.     I next conduct the one-MMD simulation analysis. As described in Section IV, this
simulation procedure first uses a simulation algorithm to find an MMD with the BVAP proportion
of 50–51% and then runs another simulation algorithm on the rest of the state without using any
information about race. Like in the race-blind simulation, I created a total of 10,000 plans (see
Appendix B for details).
       B.1.    Analysis of the Majority-Minority District
       36.     I find that all of the simulated plans use Birmingham as part of the MMD. In fact,
many of the simulated plans split Jefferson County and incorporate the city of Birmingham into the
MMD in a similar way to the enacted plan. In addition, all of the simulated plans split Tuscaloosa
County and within this county draw district boundaries similar to those in the enacted plan.
       37.     The key difference between the enacted plan and simulated plans is how Mont-
gomery County is treated. The enacted plan packs an unnecessarily large number of Black voters
into the MMD, i.e., District 7, when compared to the simulated plans. Specifically, the enacted
plan splits the City of Montgomery into two and includes its western part along with its northern
and southern environs into the MMD. In contrast, a majority (62.2%) of the simulated plans do not
split Montgomery County at all and instead assign the whole county to a non-MMD. Moreover,
even in 37.8% of the simulated plans that split Montgomery County, a much smaller part of the


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     Fraction of Simulated Plans   60%



                                   40%



                                   20%



                                    0%
                                          0               10000               20000           30000             40000
                                                                  Black VAP in Montgomery
                                                                   Among Simulated MMDs

Figure 4: Black voting age population (BVAP) in Montgomery among each simulated majority-
minority district (MMD). The enacted plan (red) places considerably more Black population in
Montgomery than most simulated MMDs.

county’s population gets assigned to the MMD.
                                   38.   Figure 4 shows the distribution of the BVAP in Montgomery County that is assigned
to the MMD across the simulated plans. The enacted plan (red dashed line) assigns about 39,000
Black residents of voting age to the MMD. In contrast, the simulated plans include a much smaller
percentage of BVAP of Montgomery County in the MMD. The distribution for the simulated plans
is highly skewed with a large spike at zero because a majority of the simulated plans do not assign
any part of Montgomery County to the MMD and instead keep Montgomery County as a whole.
And, even when the MMD incorporates a part of Montgomery County in 37.8% of the simulated
plans, it includes much less than 4,000 Black residents of voting age most of the time as opposed
to 39,000 in the enacted plan.
                                   39.   Figure 5 shows which parts of Montgomery County, if any, are likely to be included
in the MMD under the simulated plans. In this map, a precinct with darker shade means that it is
part of the MMD in a greater number of simulated plans. Consistent with the finding above, most
of Montgomery County has almost zero chance of being part of the MMD. The only area that is
somewhat likely to be included in the MMD is the western edge of the City of Montgomery. But,


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     Fraction of Simulated Plans   40.0%


                                   30.0%


                                   20.0%


                                   10.0%


                                   0.0%
                                                 30                     35                40
                                                       Second Highest BVAP %

Figure 6: The second highest Black voting age population (BVAP) proportion (after the simu-
lated majority-minority district) in each simulated plan. The vast majority of simulated plans have
greater BVAP than the enacted (red).

the simulated plans, this district has a much higher BVAP proportion with the maximum value of
39.7%. Although all of non-MMD districts were generated without using any information about
race, the simulation plan has, on average, the second highest district-level BVAP proportion at
34.5%, which is 4.4 percentage point higher than the corresponding BVAP proportion under the
enacted plan (30.1%). Only 3.7% of the simulated plans have the second highest district-level
BVAP proportion to be less than the one for the enacted plan (30.1%).




Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury that the forgoing is true
and correct:
Executed, this day, December 10, 2021, in Cambridge, Massachusetts.


________________________________________
Kosuke Imai, Ph.D.


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VI.     APPENDIX
        A.       Introduction to Redistricting Simulation
        1.       In recent years, redistricting simulation algorithms have played an increasingly im-
portant role in court cases involving redistricting plans. Simulation evidence has been presented to
courts in many states, including Michigan, North Carolina, Ohio, and Pennsylvania.5
        2.       Over the past several years, researchers have made major scientific advances to im-
prove the theoretical properties and empirical performance of redistricting simulation algorithms.
All of the state-of-the-art redistricting simulation algorithms belong to the family of Monte Carlo
methods. They are based on random generation of spanning trees, which are mathematical objects
in graph theory (DeFord, Duchin, and Solomon 2021). The use of these random spanning trees
allows these state-of-the-art algorithms to efficiently sample a representative set of plans (Autry et
al. 2020; Carter et al. 2019; McCartan and Imai 2020; Kenny et al. 2021). Algorithms developed
earlier, which do not use random spanning trees and instead rely on incremental changes to district
boundaries, are often not able to do so.
        3.       These algorithms are designed to sample plans from a specific probability distri-
bution, which means that every legal redistricting plan has certain odds of being generated. The
algorithms put as few restrictions as possible on these odds, except to ensure that, on average, the
generated plans meet certain criteria. For example, the probabilities are set so that the generated
plans reach a certain level of geographic compactness, on average. Other criteria, based on the state
in question, may be fed into the algorithm by the researcher. In other words, this target distribution
is based on the weakest assumption about the data under the specified constraints.
        4.       In addition, the algorithms ensure that all of the sampled plans (a) are geographi-
cally contiguous, and (b) have a population which deviates by no more than a specified amount
   5. Declaration of Dr. Jonathan C. Mattingly, Common Cause v. Lewis (2019); Testimony of Dr. Jowei Chen,
Common Cause v. Lewis (2019); Testimony of Dr. Pegden, Common Cause v. Lewis (2019); Expert Report of
Jonathan Mattingly on the North Carolina State Legislature, Rucho v. Common Cause (2019); Expert Report of Jowei
Chen, Rucho v. Common Cause (2019); Amicus Brief of Mathematicians, Law Professors, and Students in Support
of Appellees and Affirmance, Rucho v. Common Cause (2019); Brief of Amici Curaiae Professors Wesley Pegden,
Jonathan Rodden, and Samuel S.-H. Wang in Support of Appellees, Rucho v. Common Cause (2019); Intervenor’s
Memo, Ohio A. Philip Randolph Inst. et al. v. Larry Householder (2019); Expert Report of Jowei Chen, League of
Women Voters of Michigan v. Benson (2019).

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from a target population.
       5.      There are two types of general Monte Carlo algorithms which generate redistricting
plans with these guarantees and other properties: sequential Monte Carlo (SMC; Doucet, Freitas,
and Gordon 2001) and Markov chain Monte Carlo (MCMC; Gilks, Richardson, and Spiegelhalter
1996) algorithms.
       6.      The SMC algorithm (McCartan and Imai 2020; Kenny et al. 2021) samples many
redistricting plans in parallel, starting from a blank map. First, the algorithm draws a random
spanning tree and removes an edge from it, creating a “split” in the map, which forms a new
district. This process is repeated until the algorithm generates enough plans with just one district
drawn. The algorithm calculates a weight for each plan in a specific way so that the algorithm
yields a representative sample from the target probability distribution. Next, the algorithm selects
one of the drawn plans at random. Plans with greater weights are more likely to be selected.
The algorithm then draws another district using the same splitting procedure and calculates a new
weight for each updated plan that comports with the target probability distribution. The whole
process of random selection and drawing is repeated again and again, each time drawing one
additional district on each plan. Once all districts are drawn, the algorithm yields a sample of maps
representative of the target probability distribution.
       7.      The MCMC algorithms (Autry et al. 2020; Carter et al. 2019) also form districts
by drawing a random spanning tree and splitting it. Unlike the SMC algorithm, however, these
algorithms do not draw redistricting plans from scratch. Instead, the MCMC algorithms start with
an existing plan and modify it, merging a random pair of districts and then splitting them a new
way.
       8.      Diagnostic measures exist for both these algorithms which allow users to make sure
the algorithms are functioning correctly and accurately. The original papers for these algorithms
referenced above provide more detail on the algorithm specifics, empirical validation of their per-
formance, and the appropriateness of the chosen target distribution.
       B.      Implementation Details


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        B.1.    Race-blind simulation analysis
        9.      In my race-blind simulation analysis, I use the SMC algorithm for a couple of rea-
sons. First, unlike the MCMC algorithms, the SMC algorithm generates nearly independent sam-
ples, leading to a diverse set of redistricting plans that satisfy the specified constraints. Second,
the SMC algorithm avoids splitting political subdivision boundaries where possible, an important
consideration in the case of Alabama.
        10.     Article II(b) of the Reapportionment Committee Redistricting Guidelines (hereafter
the Guidelines) states “Congressional districts shall have minimal population deviation.” I selected
the population deviation threshold of 0.5% given the fact that our primary unit of analysis is vot-
ing districts (VTD), the smallest geographical unit for which the election results are available.
Although this means that the total population is not exactly equalized across the Congressional
districts in my simulated plans, this level of population deviation (i.e., about 3,500 people) is too
small to qualitatively change the conclusions of my analyses.
        11.     Article II(h) of the Guidelines require districts to be “contiguous and reasonably
compact”. The SMC algorithm I use is designed to generate contiguous and relatively compact
districts. Figure 7 of Appendix C shows that most of the simulated plans are more compact than
the enacted plan according to the Polsby-Popper measure (Polsby and Popper 1991), which is a
common metric of compactness used in the academic literature.
        12.     Article II(j)(iv) of the Guidelines call for minimizing the number of counties within
each district. To achieve this, I instructed the algorithm to reduce the number of county splits. I do
this in two ways. The first is instruct the algorithm to draw boundaries along county boundaries
where feasible, which mechanically limits the maximum number of possible county spits. To
further reduce the number of county splits, I also impose a small penalty against splitting counties
into the probability distribution that governs the sampling process. The mathematical formulation
of this constraint is Csplits nsplits , where nsplits is the number of splits for a given plan or portion of a
plan and Csplits is a parameter, which controls the strength of the constraint. I set Csplits = 1, which is
balanced with the incumbency constraint (discussed in the next paragraph) as the maximum integer


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value without sacrificing the sampling efficiency and sample diversity. Figure 9 of Appendix D
shows that the simulated plans have fewer or equal number of county splits than the enacted plan,
which splits a total of 6 counties.
        13.     Article II(j)(i) of the Guidelines state that “Contests between incumbents will be
avoided whenever possible.” Indeed, the enacted plan includes no more than one incumbent in
each district. I follow this decision and ensure that all simulated plans have the same property.
This is achieved by adding a penalty to any sampled districts which pair incumbents, similar to
the penalty used for reducing splits. The mathematical formulation of this constraint is analogous
to that for splits, Cpair npair , where npair is the number of incumbents paired for a given plan or
portion of a plan and again Cpair is a parameter which controls the strength of the constraint. I set
Cpair = 2 to ensure that I can sample plans without incumbent pairings in a reasonable portion of
the original sample. This value is balanced with Csplits to ensure that the final sample is diverse. As
this is probability-based, I sample 50,000 plans and reject those which still pair incumbents. Of
the remaining plans, I take the first 10,000 which do not pair any incumbents and do not split any
counties more than once. My list of incumbents does not include Representative Mo Brooks of the
fifth Congressional district who plans to run for the Senate.
        B.2.    One-MMD simulation analysis
        14.     The one-MMD simulation analysis proceeds in two steps. First, I run the short-
burst algorithm (Cannon et al. 2020) based on the merge-split type MCMC algorithm (Autry et
al. 2020; Carter et al. 2019). I designed the algorithm so that it will find one majority-minority
district (MMD) with the BVAP proportion between 50% and 51%, as instructed by counsel for
the plaintiffs. Additionally, I instructed the algorithm to seek MMDs with few county splits. I do
both by using the following mathematical criterion: IMMD − 0.2 fsplits , where IMMD is an indicator
variable (1 if the plan has an MMD between 50 and 51% BVAP, 0 otherwise) for whether or not
there is an MMD in the plan, and fsplits is the fraction of counties that are split. In the enacted plan,
there is one MMD and 6 (out of 67) counties are split, creating a score of 0.982. Since within the
MMD itself, there are 3 county splits (Jefferson, Tuscaloosa, and Montgomery), I seek an MMD


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with 3 or fewer county splits. I instructed the short-burst algorithm to seek a score of 0.985, which
would indicate plans that have an MMD and the limited number of county splits.
       15.     While this algorithm seeks plans that meet the score, I run it more times than the
required number of plans so that I will have enough plans to analyze even in rare cases where the
algorithm fails to converge. Specifically, I run this algorithm 650 times, from which 444 plans
successfully meet this score, have no incumbent pairs, and create an MMD with 3 or fewer county
splits. Once I obtain 444 MMDs with the desirable characteristics, I run the race-blind analysis on
the rest of the state. Next, I simulate 10,000 plans created using these MMDs. To do this, I take
each simulated MMD and use the Sequential Monte Carlo (SMC) simulation algorithm (McCartan
and Imai 2020; Kenny et al. 2021) to generate the remaining districts in the rest of the state without
using race information. I use the same constraints as in the earlier race-blind analysis in the SMC
algorithm, to reduce the likelihood of incumbent pairs and limit the number of county splits. I
place a slightly higher weight on each constraint, i.e., Csplits = 3, than in the race-blind analysis,
because part of the map has already been accounted for in the creation of the MMD. Half of the
county splits in the enacted map, i.e., 3 out of 6, come from the single MMD, so this makes for
realistic comparison maps.
       I aim to create 10,000 sample plans, and I again oversample so that I can remove maps from
the analysis that do not meet the specified criteria above. Simulation algorithms are probabilistic,
and it is possible to create maps which do not meet the criteria even when there is a weight placed
on them. By oversampling, I can remove the plans which do not meet the criteria and still reach
the targeted sample size of 10,000. Specifically, I randomly sample 300 of the 444 created MMDs.
For each of these simulated MMDs, I run a race-blind analysis on the rest of the state by taking 75
independent draws of the SMC algorithm.
       Finally, I adjust for oversampling by removing ultimate plans that do not meet the criteria.
For example, a very small number of simulated plans (<1%) create 7 county splits, which are
dropped from the analysis. I also drop any simulated plan that contains an incumbent pair, and
take 50 independent draws from 200 randomly selected starting points, for a total of 10,000 plans.


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                                    100%                                                                   50.0%
      Fraction of Simulated Plans




                                                                             Fraction of Simulated Plans
                                                                                                           40.0%
                                    75%

                                                                                                           30.0%
                                    50%
                                                                                                           20.0%

                                    25%
                                                                                                           10.0%

                                     0%                                                                    0.0%
                                                  2              3                                                      3     4     5    6
                                                    County Splits                                                       County Splits
                                                 in Simulated MMDs                                                 in Simulated Final Plans


Figure 10: The number of county splits in each simulated majority-minority district (left) and in the
complete simulated plans (right). All simulated plans used in the analysis have the same number
or fewer splits than the enacted plan (red).

enacted plan.
                      19.                  For the one-MMD simulation analysis, Figure 10 presents the number of counties
split within the MMD (left plot) and the total number of counties split (right plot). The figure
shows that when compared to the enacted plan, all of the one-MMD simulated plans have fewer or
equal number of county splits within the MMD and across all districts.
                      E.                   References and Materials Considered
                      E.1.                 Data Sources
                      20.                  The 2016, 2018, and 2020 precinct-level shapefiles came from the Voting and Elec-
tion Science Team. Those shapefiles were joined to 2016, 2018, and 2020 precinct-level election
returns from the Alabama Secretary of State’s office, which were processed and cleaned by Open-
Elections.
                      21.                  The 2014 precinct-level election returns came from the Alabama Secretary of
State’s office, and, after cleaning, were joined those to the 2016 precinct-level shapefile acquired
from the Voting and Election Science Team. Since absentee and provisional vote is reported at the
county level, the county-level absentee and provisional votes for each candidate were distributed


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to the precincts in the county, proportional to the share of the candidate’s vote total in the county
that was reported from each precinct.
       22.     The 2020 Census Block shapefiles, total population by race and ethnicity, and vot-
ing age population by race and ethnicity were obtained directly from the Census FTP portal.
The VTD block assignment files, congressional district block assignment files, state house dis-
trict block assignment files, and state senate district block assignment files came from the Census
website. The draft congressional, state house, and state senate plans came from a member of the
Alabama Permanent Legislative Committee on Reapportionment.
       23.     For datasets that were on the 2020 census block level (total population, voting age
population, VTD assignment, congressional district assignment, state house district assignment,
and state senate district assignment), these datasets were joined to the 2020 Census block shapefile.
       24.     For datasets that were not on the level of the census block (2014, 2016, 2017, 2018,
and 2020 election returns – precinct), they were disaggregated down to the 2020 census block
level. Then, they were joined to the 2020 Census block shapefile. The full block-level dataset was
aggregated up to the level of the 2020 voting districts, taking into account (a) discontiguities in
voting districts and (b) splits of voting districts by any of the implemented and proposed plans.
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                     EXHIBIT A
                 Curriculum Vitae
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                                   Kosuke Imai
                                 Curriculum Vitae
                                      November 2021



Contact Information
 1737 Cambridge Street
 Institute for Quantitative Social Science               Phone: 617-384-6778
 Harvard University                                      Email: Imai@Harvard.Edu
 Cambridge, MA 02138                                     URL: https://imai.fas.harvard.edu


Education
    Ph.D. in Political Science, Harvard University (1999–2003)
    A.M. in Statistics, Harvard University (2000–2002)
    B.A. in Liberal Arts, The University of Tokyo (1994–1998)


Positions
    Professor, Department of Government and Department of Statistics, Harvard Uni-
       versity (2018 – present)
    Professor, Department of Politics and Center for Statistics and Machine Learning,
       Princeton University (2013 – 2018)

             Founding Director, Program in Statistics and Machine Learning (2013
                – 2017)

    Professor of Visiting Status, Graduate Schools of Law and Politics, The University
       of Tokyo (2016 – present)
    Associate Professor, Department of Politics, Princeton University (2012 – 2013)
    Assistant Professor, Department of Politics, Princeton University (2004 – 2012)
    Visiting Researcher, Faculty of Economics, The University of Tokyo (August, 2006)
    Instructor, Department of Politics, Princeton University (2003 – 2004)




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                                                                                  Kosuke Imai


Honors and Awards
 1. Invited to read “Experimental Evaluation of Computer-Assisted Human Decision-Making:
    Application to Pretrial Risk Assessment Instrument.” before the Royal Statistical Society
    Research Section, London (2021).

 2. Excellence in Mentoring Award, awarded by the Society for Political Methodology (2021).

 3. Statistical Software Award for developing statistical software that makes a significant
    research contribution, for “fastLink: Fast Probabilistic Record Linkage,” awarded by the
    Society for Political Methodology (2021).

 4. Highly Cited Researcher (cross-field category) for “production of multiple highly cited
    papers that rank in the top 1% by citations for field and year in Web of Science,” awarded
    by Clarivate Analytics (2018, 2019, 2020).

 5. President, The Society for Political Methodology (2017–2019). Vice President and President-
    elect (2015–2017).

 6. Elected Fellow, The Society for Political Methodology (2017).

 7. The Nils Petter Gleditsch Article of the Year Award (2017), awarded by Journal of Peace
    Research.

 8. Statistical Software Award for developing statistical software that makes a significant re-
    search contribution, for “mediation: R Package for Causal Mediation Analysis,” awarded
    by the Society for Political Methodology (2015).

 9. Outstanding Reviewer Award for Journal of Educational and Behavioral Statistics, given
    by the American Educational Research Association (2014).

10. The Stanley Kelley, Jr. Teaching Award, given by the Department of Politics, Princeton
    University (2013).

11. Pi Sigma Alpha Award for the best paper presented at the 2012 Midwest Political Science
    Association annual meeting, for “Explaining Support for Combatants during Wartime:
    A Survey Experiment in Afghanistan,” awarded by the Midwest Political Science Asso-
    ciation (2013).

12. Invited to read “Experimental Designs for Identifying Causal Mechanisms” before the
    Royal Statistical Society Research Section, London (2012).

13. Inaugural recipient of the Emerging Scholar Award for a young scholar making exceptional
    contributions to political methodology who is within ten years of their terminal degree,
    awarded by the Society for Political Methodology (2011).

14. Political Analysis Editors’ Choice Award for an article providing an especially significant
    contribution to political methodology, for “Estimation of Heterogeneous Treatment Ef-
    fects from Randomized Experiments, with Application to the Optimal Planning of the
    Get-out-the-vote Campaign,” awarded by the Society for Political Methodology and Ox-
    ford University Press (2011).




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                                                                                   Kosuke Imai


 15. Tom Ten Have Memorial Award for the best poster presented at the 2011 Atlantic Causal
     Inference Conference, for “Identifying Treatment Effect Heterogeneity through Optimal
     Classification and Variable Selection,” awarded by the Departments of Biostatistics and
     Statistics, University of Michigan (2011).

 16. Nominated for the Graduate Mentoring Award, The McGraw Center for Teaching and
     Learning, Princeton University (2010, 2011).

 17. New Hot Paper, for the most-cited paper in the field of Economics & Business in the
     last two months among papers published in the last year, for “Misunderstandings among
     Experimentalists and Observationalists about Causal Inference,” named by Thomson
     Reuters’ ScienceWatch (2009).

 18. Warren Miller Prize for the best article published in Political Analysis, for “Matching
     as Nonparametric Preprocessing for Reducing Model Dependence in Parametric Causal
     Inference,” awarded by the Society for Political Methodology and Oxford University Press
     (2008).

 19. Fast Breaking Paper for the article with the largest percentage increase in citations among
     those in the top 1% of total citations across the social sciences in the last two years, for
     “Matching as Nonparametric Preprocessing for Reducing Model Dependence in Paramet-
     ric Causal Inference,” named by Thomson Reuters’ ScienceWatch (2008).

 20. Pharmacoepidemiology and Drug Safety Outstanding Reviewer Recognition (2008).

 21. Miyake Award for the best political science article published in 2005, for “Do Get-Out-
     The-Vote Calls Reduce Turnout? The Importance of Statistical Methods for Field Ex-
     periments,” awarded by the Japanese Political Science Association (2006).

 22. Toppan Prize for the best dissertation in political science, for Essays on Political Method-
     ology, awarded by Harvard University (2004). Also, nominated for American Political
     Science Association E.E. Schattschneider Award for the best doctoral dissertation in the
     field of American government and politics.


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Book
     Imai, Kosuke. (2017). Quantitative Social Science: An Introduction. Princeton Univer-
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Refereed Journal Articles
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 2. Imai, Kosuke, Zhichao Jiang, D. James Greiner, Ryan Halen, and Sooahn Shin. “Ex-
    perimental Evaluation of Computer-Assisted Human Decision-Making: Application to
    Pretrial Risk Assessment Instrument.” (with discussion) Journal of the Royal Statisti-
    cal Society, Series A (Statistics in Society), Forthcoming. To be read before the Royal
    Statistical Society.

 3. Imai, Kosuke, In Song Kim, and Erik Wang. “Matching Methods for Causal Inference
    with Time-Series Cross-Sectional Data.” American Journal of Political Science, Forth-
    coming.

 4. Imai, Kosuke and Michael Lingzhi Li. “Experimental Evaluation of Individualized Treat-
    ment Rules.” Journal of the American Statistical Association, Forthcoming.

 5. de la Cuesta, Brandon, Naoki Egami, and Kosuke Imai.“Experimental Design and Sta-
    tistical Inference for Conjoint Analysis: The Essential Role of Population Distribution.”
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 6. Kenny, Christopher T., Shiro Kuriwaki, Cory McCartan, Evan Rosenman, Tyler Simko,
    and Kosuke Imai. (2021). “The Use of Differential Privacy for Census Data and its
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 7. Imai, Kosuke and James Lo. (2021). “ Robustness of Empirical Evidence for the Demo-
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 8. Imai, Kosuke, Zhichao Jiang, and Anup Malani. (2021). “Causal Inference with Inter-
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24. Imai, Kosuke, and Zhichao Jiang. (2018). “A Sensitivity Analysis for Missing Outcomes
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28. Rosenfeld, Bryn, Kosuke Imai, and Jacob Shapiro. (2016). “An Empirical Validation
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32. Lyall, Jason, Yuki Shiraito, and Kosuke Imai. (2015). “Coethnic Bias and Wartime
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39. Imai, Kosuke and Marc Ratkovic. (2013). “Estimating Treatment Effect Heterogeneity in
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                                                                               Kosuke Imai


40. Imai, Kosuke, Dustin Tingley, and Teppei Yamamoto. (2013). “Experimental Designs
    for Identifying Causal Mechanisms.”(with discussions) Journal of the Royal Statistical
    Society, Series A (Statistics in Society), Vol. 176, No. 1 (January), pp. 5–51. (lead
    article) Read before the Royal Statistical Society, March 2012.

41. Imai, Kosuke, and Dustin Tingley. (2012). “A Statistical Method for Empirical Testing of
    Competing Theories.” American Journal of Political Science, Vol. 56, No. 1 (January),
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42. Blair, Graeme, and Kosuke Imai. (2012). “Statistical Analysis of List Experiments.”
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43. Imai, Kosuke, Luke Keele, Dustin Tingley, and Teppei Yamamoto. (2011). “Unpacking
    the Black Box of Causality: Learning about Causal Mechanisms from Experimental and
    Observational Studies.” American Political Science Review, Vol. 105, No. 4 (November),
    pp. 765–789. Reprinted in Advances in Political Methodology, R. Franzese, Jr. ed.,
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44. Bullock, Will, Kosuke Imai, and Jacob N. Shapiro. (2011). “Statistical Analysis of En-
    dorsement Experiments: Measuring Support for Militant Groups in Pakistan.” Political
    Analysis, Vol. 19, No. 4 (Autumn), pp. 363–384. (lead article)

45. Imai, Kosuke. (2011). “Multivariate Regression Analysis for the Item Count Technique.”
    Journal of the American Statistical Association, Vol. 106, No. 494 (June), pp. 407–416.
    (featured article)

46. Ho, Daniel E., Kosuke Imai, Gary King, and Elizabeth Stuart. (2011). “MatchIt: Non-
    parametric Preprocessing for Parametric Causal Inference.” Journal of Statistical Soft-
    ware, Vol. 42 (Special Volume on Political Methodology), No. 8 (June), pp. 1–28.

47. Imai, Kosuke, Ying Lu, and Aaron Strauss. (2011). “eco: R Package for Ecological
    Inference in 2 × 2 Tables.” Journal of Statistical Software, Vol. 42 (Special Volume on
    Political Methodology), No. 5 (June), pp. 1–23.

48. Imai, Kosuke and Aaron Strauss. (2011). “Estimation of Heterogeneous Treatment
    Effects from Randomized Experiments, with Application to the Optimal Planning of the
    Get-out-the-vote Campaign.” Political Analysis, Vol. 19, No. 1 (Winter), pp. 1–19.
    (lead article) Winner of the Political Analysis Editors’ Choice Award.

49. Imai, Kosuke, Luke Keele, and Dustin Tingley. (2010). “A General Approach to Causal
    Mediation Analysis.” Psychological Methods, Vol. 15, No. 4 (December), pp. 309–334.
    (lead article)

50. Imai, Kosuke and Teppei Yamamoto. (2010). “Causal Inference with Differential Mea-
    surement Error: Nonparametric Identification and Sensitivity Analysis.” American Jour-
    nal of Political Science, Vol. 54, No. 2 (April), pp. 543–560.

51. Imai, Kosuke, Luke Keele, and Teppei Yamamoto. (2010). “Identification, Inference, and
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52. King, Gary, Emmanuela Gakidou, Kosuke Imai, Jason Lakin, Ryan T. Moore, Clayton
    Nall, Nirmala Ravishankar, Manett Vargas, Martha Marı́a Téllez-Rojo, Juan Eugenio
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53. Imai, Kosuke, Gary King, and Clayton Nall. (2009). “The Essential Role of Pair Matching
    in Cluster-Randomized Experiments, with Application to the Mexican Universal Health
    Insurance Evaluation.” (with discussions) Statistical Science, Vol. 24, No. 1 (February),
    pp. 29–53.

54. Imai, Kosuke. (2009). “Statistical Analysis of Randomized Experiments with Nonignor-
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55. Imai, Kosuke, Gary King, and Olivia Lau. (2008). “Toward A Common Framework of
    Statistical Analysis and Development.” Journal of Computational and Graphical Statis-
    tics, Vol. 17, No. 4 (December), pp. 892–913.

56. Imai, Kosuke. (2008). “Variance Identification and Efficiency Analysis in Experiments
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57. Ho, Daniel E., and Kosuke Imai. (2008). “Estimating Causal Effects of Ballot Order from
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58. Imai, Kosuke, Gary King, and Elizabeth A. Stuart. (2008). “Misunderstandings among
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    Journal of the Royal Statistical Society, Series A (Statistics in Society), Vol. 171, No.
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    New Haven: Yale University Press, 2013.

59. Imai, Kosuke, Ying Lu, and Aaron Strauss. (2008). “Bayesian and Likelihood Ecological
    Inference for 2 × 2 Tables: An Incomplete Data Approach.” Political Analysis, Vol. 16,
    No. 1 (Winter), pp. 41–69.

60. Imai, Kosuke. (2008). “Sharp Bounds on the Causal Effects in Randomized Experiments
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    pp. 144–149.

61. Imai, Kosuke and Samir Soneji. (2007). “On the Estimation of Disability-Free Life
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    Association, Vol. 102, No. 480 (December), pp. 1199–1211.

62. Horiuchi, Yusaku, Kosuke Imai, and Naoko Taniguchi. (2007). “Designing and Analyz-
    ing Randomized Experiments: Application to a Japanese Election Survey Experiment.”
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                                                                                 Kosuke Imai


 63. Ho, Daniel E., Kosuke Imai, Gary King, and Elizabeth A. Stuart. (2007). “Matching
     as Nonparametric Preprocessing for Reducing Model Dependence in Parametric Causal
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     Winner of the Warren Miller Prize.
 64. Ho, Daniel E., and Kosuke Imai. (2006). “Randomization Inference with Natural Exper-
     iments: An Analysis of Ballot Effects in the 2003 California Recall Election.” Journal of
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 65. Imai, Kosuke, and David A. van Dyk. (2005). “MNP: R Package for Fitting the Multi-
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     abstract reprinted in Journal of Computational and Graphical Statistics (2005) Vol. 14,
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 66. Imai, Kosuke. (2005). “Do Get-Out-The-Vote Calls Reduce Turnout? The Importance
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 67. Imai, Kosuke, and David A. van Dyk. (2005). “A Bayesian Analysis of the Multinomial
     Probit Model Using Marginal Data Augmentation.” Journal of Econometrics, Vol. 124,
     No. 2 (February), pp. 311–334.
 68. Imai, Kosuke, and David A. van Dyk. (2004). “Causal Inference With General Treat-
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 69. Imai, Kosuke, and Gary King. (2004). “Did Illegal Overseas Absentee Ballots Decide the
     2000 U.S. Presidential Election?” Perspectives on Politics, Vol. 2, No. 3 (September),
     pp. 537–549. Our analysis is a part of The New York Times article, “How Bush Took
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Invited Contributions
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  2. Benjamin, Daniel J., et al. (2018). “Redefine Statistical Significance.” Nature Human
     Behaviour, Vol. 2, No. 1, pp. 6–10.
  3. de la Cuesta, Brandon and Kosuke Imai. (2016). “Misunderstandings about the Regres-
     sion Discontinuity Design in the Study of Close Elections.” Annual Review of Political
     Science, Vol. 19, pp. 375–396.
  4. Imai, Kosuke (2016). “Book Review of Causal Inference for Statistics, Social, and
     Biomedical Sciences: An Introduction. by Guido W. Imbens and Donald B. Rubin.”
     Journal of the American Statistical Association, Vol. 111, No. 515, pp. 1365–1366.
  5. Imai, Kosuke, Bethany Park, and Kenneth F. Greene. (2015). “Usando as respostas
     previsı́veis da abordagem list-experiments como variaveis explicativás em modelos de
     regressão.” Revista Debates, Vol. 9, No. 1, pp. 121–151. First printed in Political
     Analysis, Vol. 23, No. 2 (Spring).

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  6. Imai, Kosuke, Luke Keele, Dustin Tingley, and Teppei Yamamoto. (2014). “Comment
     on Pearl: Practical Implications of Theoretical Results for Causal Mediation Analysis.”
     Psychological Methods, Vol. 19, No. 4 (December), pp. 482–487.

  7. Imai, Kosuke, Gary King, and Elizabeth A. Stuart. (2014). “Misunderstandings among
     Experimentalists and Observationalists: Balance Test Fallacies in Causal Inference.” in
     Field Experiments and their Critics: Essays on the Uses and Abuses of Experimentation
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     First printed in Journal of the Royal Statistical Society, Series A (Statistics in Society),
     Vol. 171, No. 2 (April).

  8. Imai, Kosuke, Dustin Tingley, and Teppei Yamamoto. (2013). “Reply to Discussions
     of “Experimental Designs for Identifying Causal Mechanisms”.” Journal of the Royal
     Statistical Society, Series A (Statistics in Society), Vol. 173, No. 1 (January), pp. 46–49.

  9. Imai, Kosuke. (2012). “Comments: Improving Weighting Methods for Causal Mediation
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 10. Imai, Kosuke. (2011). “Introduction to the Virtual Issue: Past and Future Research
     Agenda on Causal Inference.” Political Analysis, Virtual Issue: Causal Inference and
     Political Methodology.

 11. Imai, Kosuke, Booil Jo, and Elizabeth A. Stuart. (2011). “Commentary: Using Potential
     Outcomes to Understand Causal Mediation Analysis.” Multivariate Behavioral Research,
     Vol. 46, No. 5, pp. 842–854.

 12. Imai, Kosuke, Luke Keele, Dustin Tingley, and Teppei Yamamoto. (2010). “Causal
     Mediation Analysis Using R,” in Advances in Social Science Research Using R, H. D.
     Vinod (ed.), New York: Springer (Lecture Notes in Statistics), pp. 129–154.

 13. Imai, Kosuke, Gary King, and Clayton Nall. (2009). “Rejoinder: Matched Pairs and
     the Future of Cluster-Randomized Experiments.” Statistical Science, Vol. 24, No. 1
     (February), pp. 65–72.

 14. Imai, Kosuke. (2003). “Review of Jeff Gill’s Bayesian Methods: A Social and Behavioral
     Sciences Approach,” The Political Methodologist, Vol. 11 No. 1, 9–10.

Refereed Conference Proceedings
  1. Svyatkovskiy, Alexey, Kosuke Imai, Mary Kroeger, and Yuki Shiraito. (2016). “Large-
     scale text processing pipeline with Apache Spark,” IEEE International Conference on
     Big Data, Washington, DC, pp. 3928-3935.

Other Publications and Manuscripts
  1. Goldstein, Daniel, Kosuke Imai, Anja S. Göritz, and Peter M. Gollwitzer. (2008). “Nudg-
     ing Turnout: Mere Measurement and Implementation Planning of Intentions to Vote.”

  2. Ho, Daniel E. and Kosuke Imai. (2004). “ The Impact of Partisan Electoral Regulation:
     Ballot Effects from the California Alphabet Lottery, 1978–2002.” Princeton Law & Public
     Affairs Paper No. 04-001; Harvard Public Law Working Paper No. 89.


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  3. Imai, Kosuke. (2003). “Essays on Political Methodology,” Ph.D. Thesis. Department of
     Government, Harvard University.

  4. Imai, Kosuke, and Jeremy M. Weinstein. (2000). “Measuring the Economic Impact of
     Civil War,” Working Paper Series No. 51, Center for International Development, Harvard
     University.


Selected Manuscripts
  1. McCartan, Cory, Jacob Brown, and Kosuke Imai. “Measuring and Modeling Neighbor-
     hoods.”

  2. Ben-Michael, Eli, D. James Greiner, Kosuke Imai, and Zhichao Jiang. “Safe Policy
     Learning through Extrapolation: Application to Pre-trial Risk Assessment.”

  3. Tarr, Alexander and Kosuke Imai. “Estimating Average Treatment Effects with Support
     Vector Machines.”

  4. McCartan, Cory and Kosuke Imai. “Sequential Monte Carlo for Sampling Balanced and
     Compact Redistricting Plans.”

  5. Imai, Kosuke and Zhichao Jiang. “Principal Fairness for Human and Algorithmic Decision-
     Making.”

  6. Papadogeorgou, Georgia, Kosuke Imai, Jason Lyall, and Fan Li. “Causal Inference with
     Spatio-temporal Data: Estimating the Effects of Airstrikes on Insurgent Violence in Iraq.”

  7. Eshima, Shusei, Kosuke Imai, and Tomoya Sasaki. “Keyword Assisted Topic Models.”

  8. Tarr, Alexander, June Hwang, and Kosuke Imai. “Automated Coding of Political Cam-
     paign Advertisement Videos: An Empirical Validation Study.”

  9. Olivella, Santiago, Tyler Pratt, and Kosuke Imai. “Dynamic Stochastic Blockmodel
     Regression for Social Networks: Application to International Conflicts.”

 10. Chan, K.C.G, K. Imai, S.C.P. Yam, Z. Zhang. “Efficient Nonparametric Estimation of
     Causal Mediation Effects.”

 11. Barber, Michael and Kosuke Imai. “Estimating Neighborhood Effects on Turnout from
     Geocoded Voter Registration Records.”

 12. Hirano, Shigeo, Kosuke Imai, Yuki Shiraito, and Masaki Taniguchi. “Policy Positions in
     Mixed Member Electoral Systems: Evidence from Japan.”


Publications in Japanese
  1. Imai, Kosuke. (2007). “Keiryō Seijigaku niokeru Ingateki Suiron (Causal Inference in
     Quantitative Political Science).” Leviathan, Vol. 40, Spring, pp. 224–233.

  2. Horiuchi, Yusaku, Kosuke Imai, and Naoko Taniguchi. (2005). “Seisaku Jyōhō to Tōhyō
     Sanka: Field Jikken ni yoru Kensyō (Policy Information and Voter Participation: A
     Field Experiment).” Nenpō Seijigaku (The Annals of the Japanese Political Science
     Association), 2005–I, pp. 161–180.

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  3. Taniguchi, Naoko, Yusaku Horiuchi, and Kosuke Imai. (2004). “Seitō Saito no Etsuran
     ha Tohyō Kōdō ni Eikyō Suruka? (Does Visiting Political Party Websites Influence Voting
     Behavior?)” Nikkei Research Report, Vol. IV, pp. 16–19.


Statistical Software
  1. Eshima, Shusei, Kosuke Imai, and Tomoya Sasaki. “Keyword Assisted Topic Models.”
     The Comprehensive R Archive Network and GitHub. 2020.

  2. Li, Michael Lingzhi and Kosuke Imai. “evalITR: Evaluating Individualized Treatment
     Rules.” available through The Comprehensive R Archive Network and GitHub. 2020.

  3. Egami, Naoki, Brandon de la Cuesta, and Kosuke Imai. “factorEx: Design and Analysis
     for Factorial Experiments.” available through The Comprehensive R Archive Network
     and GitHub. 2019.

  4. Kim, In Song, Erik Wang, Adam Rauh, and Kosuke Imai. “PanelMatch: Matching
     Methods for Causal Inference with Time-Series Cross-Section Data.” available through
     GitHub. 2018.

  5. Olivella, Santiago, Adeline Lo, Tyler Pratt, and Kosuke Imai. “NetMix: Mixed-membership
     Regression Stochastic Blockmodel for Networks.” available through CRAN and Github.
     2019.

  6. Enamorado, Ted, Benjamin Fifield, and Kosuke Imai. “fastLink: Fast Probabilistic
     Record Linkage.” available through The Comprehensive R Archive Network and GitHub.
     Winner of the Statistical Software Award. 2017.

  7. Khanna, Kabir, and Kosuke Imai. “wru: Who Are You? Bayesian Predictions of Racial
     Category Using Surname and Geolocation.” available through The Comprehensive R
     Archive Network and GitHub. 2015.

  8. Fifield, Benjamin, Christopher T. Kenny, Cory McCartan, and Kosuke Imai. “redist:
     Markov Chain Monte Carlo Methods for Redistricting Simulation.” available through
     The Comprehensive R Archive Network and GitHub. 2015.

  9. Imai, Kosuke, James Lo, and Jonathan Olmsted. “emIRT: EM Algorithms for Estimat-
     ing Item Response Theory Models.” available through The Comprehensive R Archive
     Network. 2015.

 10. Blair, Graeme, Yang-Yang Zhou, and Kosuke Imai. “rr: Statistical Methods for the
     Randomized Response Technique.” available through The Comprehensive R Archive
     Network and GitHub. 2015.

 11. Fong, Christian, Marc Ratkovic, and Kosuke Imai. “CBPS: R Package for Covariate
     Balancing Propensity Score.” available through The Comprehensive R Archive Network
     and GitHub. 2012.

 12. Egami, Naoki, Marc Ratkovic, and Kosuke Imai. “FindIt: R Package for Finding Hetero-
     geneous Treatment Effects.” available through The Comprehensive R Archive Network
     and GitHub. 2012.


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 13. Kim, In Song, and Kosuke Imai. “wfe: Weighted Linear Fixed Effects Regression Models
     for Causal Inference.” available through The Comprehensive R Archive Network. 2011.

 14. Shiraito, Yuki, and Kosuke Imai. “endorse: R Package for Analyzing Endorsement Ex-
     periments.” available through The Comprehensive R Archive Network and GitHub. 2012.

 15. Blair, Graeme, and Kosuke Imai. “list: Statistical Methods for the Item Count Technique
     and List Experiments.” available through The Comprehensive R Archive Network and
     GitHub. 2011.

 16. Tingley, Dustin, Teppei Yamamoto, Kentaro Hirose, Luke Keele, and Kosuke Imai. “me-
     diation: R Package for Causal Mediation Analysis.” available through The Comprehen-
     sive R Archive Network and GitHub. 2009. Winner of the Statistical Software Award.
     Reviewed in Journal of Educational and Behavioral Statistics.

 17. Imai, Kosuke. “experiment: R Package for Designing and Analyzing Randomized Exper-
     iments.” available through The Comprehensive R Archive Network. 2007.

 18. Ho, Daniel E., Kosuke Imai, Gary King, and Elizabeth Stuart. “MatchIt: Nonparametric
     Preprocessing for Parametric Causal Inference.” available through The Comprehensive
     R Archive Network and GitHub. 2005.

 19. Imai, Kosuke, Ying Lu, and Aaron Strauss. “eco: Ecological Inference in 2 × 2 Tables.”
     available through The Comprehensive R Archive Network and GitHub. 2004.

 20. Imai, Kosuke, and David A. van Dyk. “MNP: R Package for Fitting the Multinomial
     Probit Model.” available through The Comprehensive R Archive Network and GitHub.
     2004.

 21. Imai, Kosuke, Gary King, and Olivia Lau. “Zelig: Everyone’s Statistical Software.”
     available through The Comprehensive R Archive Network. 2004.


External Research Grants
Principal Investigator
  1. National Science Foundation (2021–2024). “Collaborative Research: Causal Inference
     with Spatio-Temporal Data on Human Dynamics in Conflict Settings.” (Algorithm for
     Threat Detection Program; DMS-2124463). Principal Investigator (with Georgia Papado-
     georgou and Jason Lyall) $485,340.

  2. National Science Foundation (2021–2023). “Evaluating the Impacts of Machine Learn-
     ing Algorithms on Human Decisions.” (Methodology, Measurement, and Statistics Pro-
     gram; SES-2051196). Principal Investigator (with D. James Greiner and Zhichao Jiang)
     $330,000.

  3. Cisco Systems, Inc. (2020–2022). “Evaluating the Impacts of Algorithmic Recommen-
     dations on the Fairness of Human Decisions.” (Ethics in AI; CG# 2370386) Principal
     Investigator (with D. James Greiner and Zhichao Jiang) $110,085.

  4. The Alfred P. Sloan Foundation (2020–2022). “Causal Inference with Complex Treatment
     Regimes: Design, Identification, Estimation, and Heterogeneity.” (Economics Program;


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    2020–13946) Co-Principal Investigator (with Francesca Dominici and Jose Zubizarreta)
    $996,299
 5. Facebook Research Grant (2018). $25,000.
 6. National Science Foundation (2016–2021). “Collaborative Conference Proposal: Sup-
    port for Conferences and Mentoring of Women and Underrepresented Groups in Political
    Methodology.” (Methodology, Measurement and Statistics and Political Science Pro-
    grams; SES–1628102) Principal Investigator (with Jeffrey Lewis) $312,322. Supplement
    (SES–1831370) $60,000.
 7. The United States Agency for International Development (2015–2017). “Unemployment
    and Insurgent Violence in Afghanistan: Evidence from the Community Development
    Program.” (AID–OAA–A–12–00096) Principal Investigator (with Jason Lyall) $188,037
 8. The United States Institute of Peace (2015–2016). “Assessing the Links between Eco-
    nomic Interventions and Stability: An impact evaluation of vocational and skills training
    in Kandahar, Afghanistan,” Principal Investigator (with David Haines, Jon Kurtz, and
    Jason Lyall) $144,494.
 9. Amazon Web Services in Education Research Grant (2014). Principal Investigator (with
    Graeme Blair and Carlos Velasco Rivera) $3,000.
10. Development Bank of Latin America (CAF) (2013). “The Origins of Citizen Support for
    Narcos: An Empirical Investigation,” Principal Investigator (with Graeme Blair, Fabiana
    Machado, and Carlos Velasco Rivera). $15,000.
11. The International Growth Centre (2011–2013). “Poverty, Militancy, and Citizen Demands
    in Natural Resource-Rich Regions: Randomized Evaluation of the Oil Profits Dividend
    Plan for the Niger Delta” (RA–2010–12–013). Principal Investigator (with Graeme Blair).
    $117,116.
12. National Science Foundation, (2009–2012). “Statistical Analysis of Causal Mechanisms:
    Identification, Inference, and Sensitivity Analysis,” (Methodology, Measurement, and
    Statistics Program and Political Science Program; SES–0918968). Principal Investigator.
    $97,574.
13. National Science Foundation, (2009–2011). “Collaborative Research: The Measurement
    and Identification of Media Priming Effects in Political Science,” (Methodology, Measure-
    ment, and Statistics Program and Political Science Program; SES–0849715). Principal
    Investigator (with Nicholas Valentino). $317,126.
14. National Science Foundation, (2008–2009). “New Statistical Methods for Randomized
    Experiments in Political Science and Public Policy,” (Political Science Program; SES–
    0752050). Principal Investigator. $52,565.
15. National Science Foundation, (2006–2009). “Collaborative Research: Generalized Propen-
    sity Score Methods,” (Methodology, Measurement and Statistics Program; SES–0550873).
    Principal Investigator (with Donald B. Rubin and David A. van Dyk). $460,000.
16. The Telecommunications Advancement Foundation, (2004). “Analyzing the Effects of
    Party Webpages on Political Opinions and Voting Behavior,” Principal Investigator (with
    Naoko Taniguchi and Yusaku Horiuchi). $12,000.


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Adviser and Statistical Consultant
  1. National Science Foundation (2016–2017). “Doctoral Dissertation Research: Crossing
     Africa’s Arbitrary Borders: How Refugees Shape National Boundaries by Challenging
     Them.” (Political Science Program, SES–1560636). Principal Investigator and Adviser
     for Co-PI Yang-Yang Zhou’s Dissertation Research. $18,900.

  2. Institute of Education Sciences (2012–2014). “Academic and Behavioral Consequences
     of Visible Security Measures in Schools” (R305A120181). Statistical Consultant (Emily
     Tanner-Smith, Principal Investigator). $351,228.

  3. National Science Foundation (2013–2014). “Doctoral Dissertation Research: Open Trade
     for Sale: Lobbying by Productive Exporting Firm” (Political Science Program, SES–
     1264090). Principal Investigator and Adviser for Co-PI In Song Kim’s Dissertation Re-
     search. $22,540.

  4. National Science Foundation (2012–2013). “Doctoral Dissertation Research: The Poli-
     tics of Location in Resource Rent Distribution and the Projection of Power in Africa”
     (Political Science Program, SES–1260754). Principal Investigator and Adviser for Co-PI
     Graeme Blair’s Dissertation Research. $17,640.


Invited Short Courses and Outreach Lectures
  1. Short Course on Causal Inference and Statistics – Department of Political Science, Rice
     University, 2009; Institute of Political Science, Academia Sinica, 2014.

  2. Short Course on Causal Inference and Identification, The Empirical Implications of The-
     oretical Models (EITM) Summer Institute – Harris School of Public Policy, University of
     Chicago, 2011; Department of Politics, Princeton University, 2012.

  3. Short Course on Causal Mediation Analysis – Summer Graduate Seminar, Institute of
     Statistical Mathematics, Tokyo Japan, 2010; Society for Research on Educational Effec-
     tiveness Conference, Washington DC, Fall 2011, Spring 2012, Spring 2015; Inter-American
     Development Bank, 2012; Center for Education Research, University of Wisconsin, Madi-
     son, 2012; Bobst Center for Peace and Justice, Princeton University, 2014; Graduate
     School of Education, University of Pennsylvania, 2014; EITM Summer Institute, Duke
     University, 2014; Center for Lifespan Psychology, Max Planck Institute for Human De-
     velopment, 2015; School of Communication Research, University of Amsterdam, 2015;
     Uppsala University, 2016

  4. Short Course on Covariate Balancing Propensity Score – Society for Research on Ed-
     ucational Effectiveness Conference, Washington DC, Spring 2013; Uppsala University,
     2016

  5. Short Course on Matching Methods for Causal Inference – Institute of Behavioral Science,
     University of Colorado, Boulder, 2009; Department of Political Science, Duke University,
     2013.

  6. Lecture on Statistics and Social Sciences – New Jersey Japanese School, 2011, 2016;
     Kaisei Academy, 2012, 2014; Princeton University Wilson College, 2012; University of
     Tokyo, 2014


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Selected Presentations
  1. Distinguished speaker, Harvard College Summer Program for Undergraduates in Data
     Science, 2021.

  2. Keynote speaker, Kansas-Western Missouri Chapter of the American Statistical Associ-
     ation, 2021.

  3. Invited plenary panelist, Association for Computing Machinery Conference on Fairness,
     Accountability, and Transparency (ACM FAccT) 2021.

  4. Keynote speaker, Taiwan Political Science Association, 2020.

  5. Keynote speaker, Boston Japanese Researchers Forum, Massachusetts Institute of Tech-
     nology, 2020.

  6. Keynote speaker, Causal Mediation Analysis Training Workshop, Mailman School of
     Public Health, Columbia University, 2020.

  7. Keynote speaker, Special Workshop on Evidence-based Policy Making. World Economic
     Forum, Centre for the Fourth Industrial Revolution, Japan, 2020.

  8. Distinguished speaker, Institute for Data, Systems, and Society. Massachusetts Institute
     of Technology, 2019.

  9. Keynote speaker, The Harvard Experimental Political Science Graduate Student Confer-
     ence, Harvard University, 2019.

 10. Invited speaker, Beyond Curve Fitting: Causation, Counterfactuals, and Imagination-
     based AI. Association for the Advancement of Artificial Intelligence, Spring Symposium,
     Stanford University, 2019.

 11. Inaugural speaker, Causal Inference Seminar, Departments of Biostatistics and Statistics,
     Boston University, 2019.

 12. Keynote speaker, The Second Latin American Political Methodology Meeting, Universi-
     dad de los Andes (Department of Political Science), 2018.

 13. Keynote speaker, The First Latin American Political Methodology Meeting, Pontifical
     Catholic University of Chile (Department of Political Science), 2017.

 14. Keynote speaker, Workshop on Uncovering Causal Mechanisms, University of Munich
     (Department of Economics), 2016.

 15. Keynote speaker, The National Quality Registry Research Conference, Stockholm, 2016.

 16. Keynote speaker, The UK-Causal Inference Meeting, University of Bristol (School of
     Mathematics), 2015.

 17. Keynote speaker, The UP-STAT Conference, the Upstate Chapters of the American Sta-
     tistical Association, 2015.

 18. Keynote speaker, The Winter Conference in Statistics, Swedish Statistical Society and
     Umeå University (Department of Mathematics and Mathematical Statistics), 2015.


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 19. Inaugural invited speaker, The International Methods Colloquium, Rice University, 2015.

 20. Invited speaker, The International Meeting on Experimental and Behavioral Social Sci-
     ences, University of Oxford (Nuffield College), 2014.

 21. Keynote speaker, The Annual Conference of Australian Society for Quantitative Political
     Science, University of Sydney, 2013.

 22. Keynote speaker, The Graduate Student Conference on Experiments in Interactive Deci-
     sion Making, Princeton University. 2008.


Conferences Organized
  1. The Asian Political Methodology Meetings (January 2014, 2015, 2016, 2017, 2018; co-
     organizer)

  2. The Experimental Research Workshop (September 2012; co-organizer)

  3. The 12th World Meeting of the International Society for Bayesian Analysis (June 2012;
     a member of the organizing committee)

  4. Conference on Causal Inference and the Study of Conflict and State Building (May 2012;
     organizer)

  5. The 28th Annual Society for Political Methodology Summer Meeting (July 2011; host)

  6. Conference on New Methodologies and their Applications in Comparative Politics and
     International Relations (February 2011; co-organizer)


Teaching
Courses Taught at Harvard
  1. Stat 286/Gov 2003 Causal Inference (formally Stat 186/Gov 2002): introduction to causal
     inference

  2. Gov 2003 Topics in Quantitative Methodology: causal inference, applied Bayesian statis-
     tics, machine learning

Courses Taught at Princeton
  1. POL 245 Visualizing Data: exploratory data analysis, graphical statistics, data visual-
     ization

  2. POL 345 Quantitative Analysis and Politics: a first course in quantitative social science

  3. POL 451 Statistical Methods in Political Science: basic probability and statistical theory,
     their applications in the social sciences

  4. POL 502 Mathematics for Political Science: real analysis, linear algebra, calculus

  5. POL 571 Quantitative Analysis I: probability theory, statistical theory, linear models

  6. POL 572 Quantitative Analysis II: intermediate applied statistics

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  7. POL 573 Quantitative Analysis III: advanced applied statistics

  8. POL 574 Quantitative Analysis IV: advanced applied statistics with various topics in-
     cluding Bayesian statistics and causal inference

  9. Reading Courses: basic mathematical probability and statistics, applied bayesian statis-
     tics, spatial statistics


Advising
Current Students
  1. Soubhik Barari (Government)

  2. Adam Breuer (Computer Science and Government). To be Assistant Professor, Depart-
     ment of Government and Department of Computer Science, Dartmouth College

  3. Jacob Brown (Government)

  4. Ambarish Chattopadhyay (Statistics)

  5. Shusei Eshima (Government)

  6. Georgina Evans (Government)

  7. Dae Woong Ham (Statistics)

  8. Christopher T. Kenny (Government)

  9. Michael Lingzhe Li (MIT, Operations Research Center)

 10. Jialu Li (Government)

 11. Cory McCartan (Statistics)

 12. Sayumi Miyano (Princeton, Politics)

 13. Sun Young Park (Government)

 14. Casey Petroff (Political Economy and Government)

 15. Averell Schmidt (Kennedy School)

 16. Sooahn Shin (Government)

 17. Tyler Simko (Government)

 18. Soichiro Yamauchi (Government)

 19. Yi Zhang (Statistics)

Current Postdocs
  1. Eli Ben-Michael

  2. Evan Rosenman


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Former Students
  1. Alexander Tarr (Ph.D. in 2021, Department of Electrical and Computer Engineering,
     Princeton University; Dissertation Committee Chair)

  2. Connor Jerzak (Ph.D. in 2021, Department of Government, Harvard University). Post-
     doctoral Fellow, Linkoping University. To be Assistant Professor, Department of Gov-
     ernment, University of Texas, Austin

  3. Shiro Kuriwaki (Ph.D. in 2021, Department of Government, Harvard University). Post-
     doctoral Fellow, Stanford University. To be Assistant Professor, Department of Political
     Science, Yale University

  4. Erik Wang (Ph.D. in 2020, Department of Politics, Princeton University). Assistant
     Professor, Department of Political and Social Change, Australian National University

  5. Diana Stanescu (Ph.D. in 2020, Department of Politics, Princeton University). Postdoc-
     toral Fellow, Stanford University

  6. Nicole Pashley (Ph.D. in 2020, Department of Statistics, Harvard University). Assistant
     Professor, Department of Statistics, Rutgers University

  7. Asya Magazinnik (Ph.D. in 2020, Department of Politics, Princeton University). Assis-
     tant Professor, Department of Political Science, Massachusetts Institute of Technology

  8. Max Goplerud (Ph.D. in 2020, Department of Government, Harvard University). Assis-
     tant Professor, Department of Political Science, University of Pittsburgh

  9. Naoki Egami (Ph.D. in 2020, Department of Politics, Princeton University; Disserta-
     tion Committee Chair). Assistant Professor, Department of Political Science, Columbia
     University

 10. Brandon de la Cuesta (Ph.D. in 2019, Department of Politics, Princeton University).
     Postdoctoral Fellow, Center on Global Poverty and Development, Stanford University

 11. Yang-Yang Zhou (Ph.D. in 2019, Department of Politics, Princeton University). Assistant
     Professor, Department of Political Science, University of British Columbia

 12. Winston Chou (Ph.D. in 2019, Department of Politics, Princeton University). Senior
     Data Scientist at Apple

 13. Ted Enamorado (Ph.D. in 2019, Department of Politics, Princeton University; Disserta-
     tion Committee Chair). Assistant Professor, Department of Political Science, Washington
     University in St. Louis

 14. Benjamin Fifield (Ph.D. in 2018, Department of Politics, Princeton University; Disserta-
     tion Committee Chair). Data Scientist, American Civil Liberties Union

 15. Tyler Pratt. (Ph.D. in 2018, Department of Politics, Princeton University). Assistant
     Professor, Department of Political Science, Yale University

 16. Romain Ferrali (Ph.D. in 2018, Department of Politics, Princeton University). Assistant
     Professor, Aix-Marseille School of Economics


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17. Julia Morse (Ph.D. in 2017, Woodrow Wilson School, Princeton University). Assistant
    Professor, Department of Political Science, University of California, Santa Barbara
18. Yuki Shiraito (Ph.D. in 2017, Department of Politics, Princeton University; Dissertation
    Committee Chair). Assistant Professor, Department of Political Science, University of
    Michigan
19. Carlos Velasco Rivera (Ph.D. in 2016, Department of Politics, Princeton University).
    Research Scientist, Facebook
20. Gabriel Lopez Moctezuma (Ph.D. in 2016, Department of Politics, Princeton University).
    Assistant Professor, Division of the Humanities and Social Sciences, California Institute
    of Technology
21. Graeme Blair (Ph.D. in 2016, Department of Politics, Princeton University). Assistant
    Professor, University of California, Los Angeles
22. Jaquilyn R. Waddell Boie (Ph.D. in 2015, Department of Politics, Princeton University).
    Private consultant
23. Scott Abramson (Ph.D. in 2014, Department of Politics, Princeton University). Associate
    Professor, Department of Political Science, University of Rochester
24. Michael Barber (Ph.D. in 2014, Department of Politics, Princeton University). Associate
    Professor, Department of Political Science, Brigham Young University
25. In Song Kim (Ph.D. in 2014, Department of Politics, Princeton University). Associate
    Professor, Department of Political Science, Massachusetts Institute of Technology
26. Alex Ruder (Ph.D. in 2014, Department of Politics, Princeton University). Senior Com-
    munity Economic Development Advisor, Federal Reserve Bank of Atlanta
27. Meredith Wilf (Ph.D. in 2014, Department of Politics, Princeton University). Senior
    Director, Capital Rx
28. Will Bullock. (Ph.D. candidate, Department of Politics, Princeton University). Senior
    Researcher, Facebook
29. Teppei Yamamoto (Ph.D. in 2011, Department of Politics, Princeton University; Dis-
    sertation Committee Chair). Associate Professor, Department of Political Science, Mas-
    sachusetts Institute of Technology
30. Dustin Tingley (Ph.D. in 2010, Department of Politics, Princeton University). Professor,
    Department of Government, Harvard University
31. Aaron Strauss (Ph.D. in 2009, Department of Politics, Princeton University). Former
    Executive Director, Analyst Institute
32. Samir Soneji (Ph.D. in 2008, Office of Population Research, Princeton University; Dis-
    sertation Committee Chair). Associate Professor, Department of Health Behavior at the
    Gillings School of Global Public Health, University of North Carolina, Chapel Hill
33. Ying Lu (Ph.D. in 2005, Woodrow Wilson School, Princeton University; Dissertation
    Committee Chair). Associate Professor, Steinhardt School of Culture, Education, and
    Human Development, New York University


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Former Predocs and Postdocs
  1. Zhichao Jiang (Postdoctoral Fellow, 2016–2019). Assistant Professor, Department of
     Biostatistics and Epidemiology, School of Public Health and Health Sciences, University
     of Massachusetts, Amherst

  2. Adeline Lo (Postdoctoral Fellow, 2016–2019). Assistant Professor, Department of Politi-
     cal Science, University of Wisconsin, Madison

  3. Yunkyu Sohn (Postdoctoral Fellow, 2016–2018). Assistant Professor, School of Political
     Science and Economics, Waseda University

  4. Xiaolin Yang (Postdoctoral Fellow, 2015–2017). Research Scientist, Amazon

  5. Santiago Olivella (Postdoctoral Fellow, 2015–2016). Associate Professor, Department of
     Political Science, University of North Carolina

  6. Drew Dimmery (Predoctoral Fellow, 2015–2016). Research Scientist, Facebook

  7. James Lo (Postdoctoral Fellow, 2014–2016). Assistant Professor, Department of Political
     Science, University of Southern California

  8. Steven Liao (Predoctoral Fellow, 2014–2015). Assistant Professor, Department of Politi-
     cal Science, University of California, Riverside

  9. Michael Higgins (Postdoctoral Fellow, 2013–2015). Associate Professor, Department of
     Statistics, Kansas State University

 10. Kentaro Hirose (Postdoctoral Fellow, 2012–2015). Assistant Professor, Waseda Institute
     for Advanced Studies

 11. Chad Hazlett (Predoctoral Fellow, 2013–2014). Associate Professor, Departments of Po-
     litical Science and Statistics, University of California, Los Angeles

 12. Florian Hollenbach (Predoctoral Fellow, 2013–2014). Associate Professor, Department of
     International Economics, Government and Business at the Copenhagen Business School

 13. Marc Ratkovic (Predoctoral and Postdoctoral Fellow, 2010–2012). Assistant Professor,
     Department of Politics, Princeton University


Editorial and Referee Service
    Co-editor for Journal of Causal Inference (2014 – present)

    Associate editor for American Journal of Political Science (2014 – 2019), Journal of
    Business & Economic Statistics (2015 – 2024), Journal of Causal Inference (2011 – 2014),
    Journal of Experimental Political Science (2013 – 2017), Observational Studies (2014 –
    present), Political Analysis (2014 – 2017).

    Editorial board member for Asian Journal of Comparative Politics (2014 – present), Jour-
    nal of Educational and Behavioral Statistics (2011 – present), Journal of Politics (2007 –
    2008, 2019–2020), Journal of Research on Educational Effectiveness (2014 – 2016), Polit-
    ical Analysis (2010 – 2013), Political Science Research and Methods (2019 – present).


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    Guest editor for Political Analysis virtual issue on causal inference (2011).

    Referee for ACM Computing Surveys, American Economic Journal: Applied Economics,
    American Economic Review: Insights, American Journal of Epidemiology, American
    Journal of Evaluation, American Journal of Political Science, American Political Science
    Review, American Politics Research, American Sociological Review, Annals of Applied
    Statistics, Annals of Statistics, Annals of the Institute of Statistical Mathematics, Bio-
    metrics, Biometrika, Biostatistics, BMC Medical Research Methodology, British Journal
    of Mathematical and Statistical Psychology, British Journal of Political Science, Cana-
    dian Journal of Statistics, Chapman & Hall/CRC Press, Child Development, Commu-
    nications for Statistical Applications and Methods, Computational Statistics and Data
    Analysis, Electoral Studies, Econometrica, Econometrics, Empirical Economics, Envi-
    ronmental Management, Epidemiology, European Union Politics, IEEE Transactions on
    Information Theory, International Journal of Biostatistics, International Journal of Epi-
    demiology, International Journal of Public Opinion Research, International Migration
    Review, John Wiley & Sons, Journal of Applied Econometrics, Journal of Applied Statis-
    tics, Journal of Biopharmaceutical Statistics, Journal of Business and Economic Statis-
    tics, Journal of Causal Inference, Journal of Computational and Graphical Statistics,
    Journal of Conflict Resolution, Journal of Consulting and Clinical Psychology, Journal
    of Econometrics, Journal of Educational and Behavioral Statistics, Journal of Empiri-
    cal Legal Studies, Journal of Multivariate Analysis, Journal of Official Statistics, Jour-
    nal of Peace Research, Journal of Politics, Journal of Research on Educational Effec-
    tiveness,Journal of Statistical Planning and Inference, Journal of Statistical Software,
    Journal of Survey Statistics and Methodology, Journal of the American Statistical Asso-
    ciation (Case Studies and Applications; Theory and Methods), Journal of the Japanese
    and International Economies, Journal of the Japan Statistical Society, Journal of the
    Royal Statistical Society (Series A; Series B; Series C), Law & Social Inquiry, Legisla-
    tive Studies Quarterly, Management Science, Multivariate Behavioral Research, National
    Science Foundation (Economics; Methodology, Measurement, and Statistics; Political Sci-
    ence), Natural Sciences and Engineering Research Council of Canada, Nature Machine
    Intelligence, NeuroImage, Osteoporosis International, Oxford Bulletin of Economics and
    Statistics, Pharmaceutical Statistics, Pharmacoepidemiology and Drug Safety, PLOS One,
    Policy and Internet, Political Analysis, Political Behavior, Political Communication, Po-
    litical Research Quarterly, Political Science Research and Methods, Population Health
    Metrics, Population Studies, Prevention Science, Proceedings of the National Academy of
    Sciences, Princeton University Press, Psychological Methods, Psychometrika, Public Opin-
    ion Quarterly, Quarterly Journal of Economics, Quarterly Journal of Political Science,
    Review of Economics and Statistics, Routledge, Sage Publications, Scandinavian Journal
    of Statistics, Science, Sloan Foundation, Springer, Sociological Methodology, Sociologi-
    cal Methods & Research, Statistical Methodology, Statistical Methods and Applications,
    Statistical Methods in Medical Research, Statistical Science, Statistica Sinica, Statistics &
    Probability Letters, Statistics in Medicine, Systems Biology, U.S.-Israel Binational Science
    Foundation, Value in Health, World Politics.


University and Departmental Committees
Harvard University
    Department of Government

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                                                                            Kosuke Imai


        Member, Curriculum and Educational Policy Committee (2020–2021)
        Member, Second-year Progress Committee (2019–2020)
        Member, Graduate Placement Committee (2019–2020)
        Member, Graduate Admissions Committee (2018–2019)
        Member, Graduate Poster Session Committee (2018–2019)

    Department of Statistics

        Chair, Senior Faculty Search Committee (2021–2022)
        Member, Junior Faculty Search Committee (2018–2019)
        Member, Second-year Progress Committee (2018–2019, 2020–2021)

Princeton University
    University

        Executive Committee Member, Program in Statistics and Machine Learning (2013–
        2018)
        Executive Committee Member, Committee for Statistical Studies (2011-2018)
        Member, Organizing Committee, Retreat on Data and Information Science at Prince-
        ton (2016)
        Member, Council of the Princeton University Community (2015)
        Member, Search Committee for the Dean of College (2015)
        Member, Committee on the Library and Computing (2013–2016)
        Member, Committee on the Fund for Experimental Social Science (2013–2018)
        Member, Personally Identifiable Research Data Group (2012–2018)
        Member, Research Computing Advisory Group (2013–2018)
        Member, Task Force on Statistics and Machine Learning (2014–2015)

    Department of Politics

        Chair, Department Committee on Research and Computing (2012–2018)
        Chair, Formal and Quantitative Methods Junior Search Committee (2012–2013,
        2014–2015, 2016–2017)
        Chair, Reappointment Committee (2015–2016)
        Member, Diversity Initiative Committee (2014–2015)
        Member, American Politics Junior Search Committee (2012–2014)
        Member, Department Chair’s Advisory Committee (2010–2013, 2015–2016)
        Member, Department Priority Committee (2012–2013, 2014–2015, 2016–2017)
        Member, Formal and Quantitative Methods Curriculum Committee (2005–2006)
        Member, Formal and Quantitative Methods Junior Search Committee (2009–2010,
        2015–2016)
        Member, Formal and Quantitative Methods Postdoc Search Committee (2009–2018)


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        Member, Graduate Admissions Committee (2012–2013)
        Member, Reappointment Committee (2014–2016)
        Member, Space Committee (2014–2016)
        Member, Undergraduate Curriculum Committee (2014–2015)
        Member, Undergraduate Exam Committee (2007–2008)
        Member, Undergraduate Thesis Prize Committee (2005–2006, 2008–2011)
   Center for Statistics and Machine Learning
        Executive Committee Member (2016–2018)
        Member, Search Committee (2015–2017)

Services to the Profession
   National Academies of Sciences, Engineering, and Medicine
        Committee on National Statistics, Division of Behavioral and Social Sciences and
        Education, Panel on the Review and Evaluation of the 2014 Survey of Income and
        Program Participation Content and Design (2014–2017)
   National Science Foundation
        Proposal Review Panel (2020)
   The Society for Political Methodology
        President (2017–2019)
        Vice President and President Elect (2015–2017)
        Annual Meeting Committee, Chair (2011)
        Career Award Committee (2015–2017)
        Program Committee for Annual Meeting (2012), Chair (2011)
        Graduate Student Selection Committee for the Annual Meeting (2005), Chair (2011)
        Miller Prize Selection Committee (2010–2011)
        Statistical Software Award Committee (2009–2010)
        Emerging Scholar Award Committee (2013)
   American Statistical Association
        Journal of Educational and Behavioral Statistics Management Committee (2016 –
        present)
   Others
        External Expert, Department of Methodology, London School of Economics and
        Political Science (2017)

Memberships
   American Political Science Association; American Statistical Association; Midwest Polit-
   ical Science Association; The Society for Political Methodology.


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